USA-153Consent to Transfer of Case for Plea and Sentence (Under Rule 20)

In the United States District Court

forthe WESTERN DISTRICT OF MISSOURI

 

 

UNITED STATESOF AMERICA
V. CRIMINAL NUMBER: 5:19-cr-06011-SJ-DGK

DAVID LANE BYRNS

 

Consent to Transfer of Case for Plea
and Sentence

(Under Rule 20)

I, David Lane Byrns, defendant, have been informed that an information is pending against me in the above
designated cause. I wish to plead guilty to the offense charged, to consent to the disposition of the case in the
Middle District of Florida in which I, David Lane Byrns, am held and to waive trial in the above
captioned District.

Dated: S [at 2019 at [ O: 30 an
/ fa
fs/ David Lane Byrns ” ire LED

(Defendant) C) Y fat
f) Fl

(Witness) Rebinly rode vie K biist, / 3Tpadé OL
is/’J. Justin Jo sran)
(Counsel for Defendants)

Isf Lucinda S. Woolery XZ weerda £. Weel,

(Assistant United States Attorney)

 

 

Approved

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Is! rimol} A. gti A j Yuu . we /sf Maria Chapa Lopez
United States Attorney for the wo United States Attorney for the
Western District of Missouri Me Middle District of Florida

 

 

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